                  Case 23-11160-MFW                Doc 17        Filed 08/21/23         Page 1 of 7




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


 In re:                                                        Chapter 11

 VESTTOO LTD., et al. 1                                        Case No. 23-11160 (MFW)
                                                               (Joint Administration Requested)
                                     Debtors.
                                                               Re: D.I. 15

                            DECLARATION OF HANNAH TILDESLEY
                   IN SUPPORT OF MOTION FOR AN ORDER ENFORCING
                              THE AUTOMATIC STAY AGAINST
                        (I) WHITE ROCK INSURANCE (SAC) LTD. AND
                  (II) THE PUTATIVE JOINT PROVISIONAL LIQUIDATORS
                        OF THE DEBTORS SEGREGATED ACCOUNTS

           I, Hannah Tildesley, hereby declare under penalty of pe1jury that the following is true and

co1Tect:

           1.     I am a partner in the Dispute Resolution department of Appleby (Bermuda) Limited

("Appleby") in Hamilton, Bermuda. Appleby is part of the Appleby Global international full-

service law firm with ten offices in offshore jurisdictions and Asia Pacific financial centers. I have

a BA Hons in History from the University of Cambridge, a Graduate Diploma in Law from City,

University of London and have been called to the bar in England and Wales (2012) and Bermuda

(2018).

           2.     I specialize in international commercial litigation, with a particular focus on

banking and funds litigation, director and shareholder disputes and contentious trust disputes. I

have advised on various complex multi-jurisdictional restructurings, including Bermuda

provisional liquidations accompanying Chapter 11 proceedings in the United States.                                 I also


          Due to the large number of debtor entities in these chapter 11 cases, a complete list of the Debtors and the last
four digits of their federal tax identification numbers is not provided herein. A complete list of such information may
be obtained on the website of the Debtors' proposed claims and noticing agent at https://dm.epiq 11.com/vesttoo.
Case 23-11160-MFW   Doc 17   Filed 08/21/23   Page 2 of 7
Case 23-11160-MFW   Doc 17   Filed 08/21/23   Page 3 of 7
Case 23-11160-MFW   Doc 17   Filed 08/21/23   Page 4 of 7
Case 23-11160-MFW   Doc 17   Filed 08/21/23   Page 5 of 7
Case 23-11160-MFW   Doc 17   Filed 08/21/23   Page 6 of 7
Case 23-11160-MFW   Doc 17   Filed 08/21/23   Page 7 of 7
